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 4
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 6
 7
 8                        UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
10
11   BRIAN WRIGHT,                          Case No.:
12                                          Action Filed:
                        Plaintiff,
13   vs.                                    Trial Date:
14   AON HEWITT ABSENCE
     MANAGEMENT, LLC; THE                   COMPLAINT FOR RECOVERY OF
15   BOEING COMPANY; AETNA LIFE             ERISA PLAN BENEFITS;
     INSURANCE COMPANY; and                 ENFORCEMENT AND
16   DOES 1 to 10, inclusive,               CLARIFICATION OF RIGHTS; PRE-
                                            JUDGMENT AND POST-JUDGMENT
17                                          INTEREST AND ATTORNEYS’ FEES
                        Defendants.
18
19                                           [Filed Concurrently With:
                                              - Civil Cover Sheet;
20                                            - Summons; and
                                              - Certification of Interested Parties]
21
22
23
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 1                              JURISDICTION AND VENUE
 2
 3          1.     Plaintiff Brian Wright (“Plaintiff”) brings this action to recover benefits
 4   and to enforce and clarify his rights under section 502(a)(1)(B) of the Employee
 5   Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. section
 6   1132(a)(1)(B). This Court has subject matter jurisdiction over Plaintiff’s claim
 7   pursuant to ERISA section 502(e) and (f), 29 U.S.C. section 1132(e) and (f), and 28
 8   U.S.C. section 1331.
 9
10          2.     Venue lies in the Central District of California, Western Division
11   pursuant to ERISA section 502(e)(2), 29 U.S.C. section 1132(e)(2), because
12   Plaintiff resides in this District, some of the breaches alleged occurred in this
13   District and the ERISA-governed plan at issue was administered in part in this
14   District.
15
16                                       THE PARTIES
17
18          3.     Plaintiff is an individual who, at all times relevant to this action, was a
19   citizen of the state of California and a resident of Los Angeles County, California,
20   City of Torrance. Further, at all times relevant to this action, Plaintiff was a
21   participant, as defined by ERISA section 3(7), 29 U.S.C. section 1002(7), in the
22   employee welfare benefit plan established by his employer The Boeing Company, at
23   issue in this action.
24
25          4.     Defendant Aon Hewitt Absence Management, LLC (“Aon Hewitt”) at
26   all relevant times administered the short-term disability benefits provided to Plan
27   participants, including Plaintiff. The Plan was self-funded by The Boeing
28   Company, and promised to pay short-term disability (“STD”) benefits to Plaintiff


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 1   should he become disabled (“STD Plan”). Aon Hewitt acted as a claims
 2   administrator and as an ERISA claims fiduciary of the STD Plan.
 3
 4         5.     Defendant Aetna Life Insurance Company (“Aetna”), at all relevant
 5   times administered long-term disability (“LTD”) benefits provided to Plan
 6   participants, including Plaintiff, by issuing group policy number 728777 to The
 7   Boeing Company (“Boeing”). That policy and the Plan promised to pay LTD
 8   benefits to Plaintiff should she become disabled. Aetna has acted as a claims
 9   administrator and as an ERISA claims fiduciary of the Plan.
10
11         6.     Defendant The Boeing Company (“Boeing”), is an at all times was,
12   duly authorized to do, and doing business, in the County of Los Angeles, State of
13   California, within the Judicial District of the Central District Court of California,
14   and at all relevant times, administered disability benefits provided to Plan
15   participants, including Plaintiff, by acting as an ERISA Administrator and fiduciary
16   of both the STD Plan and LTD Plan. In addition, as the STD Plan was self-funded,
17   Boeing is responsible for all unpaid benefits under that Plan. (Aon Hewitt, Aetna
18   and Boeing are referred to collectively as “Defendants”)
19
20         7.     The true names and capacities, whether individual, corporate, associate
21   or otherwise of the defendants named herein as DOES 1 through 10, inclusive, are
22   unknown to Plaintiff at this time, who therefore sue DOES 1 through 10 by fictitious
23   names and will ask leave of the Court to amend this Complaint to show the true
24   names and capacities of DOES 1 through 10 when the same are ascertained; DOES
25   1 through 10 are sued as principals and/or agents, servants, attorneys, and
26   employees of said principals, and all the acts performed by them were within the
27   course and scope of their authority and employment. Plaintiff is informed and
28   believes and thereupon alleges that each of DOES 1 through 10 is legally


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 1   responsible in some manner for the events referred to herein, and directly and
 2   proximately caused the damages and injuries to Plaintiff as hereinafter alleged.
 3
 4                               FACTUAL BACKGROUND
 5
 6         8.     In or about June 1985, Plaintiff began working for Boeing. During his
 7   more than 30-year career at Boeing, he held multiple positions, and was employed
 8   as a “Project Engineer 6” on the last day he was capable of working. As a “Project
 9   Engineer 6,” Plaintiff was responsible for a “variety of staff assignments including
10   managing facilit[ies]; preparing/submitting/defending proposals; delivering training;
11   presenting/attending meetings, etc.” Plaintiff’s job required the supervision of
12   others, and in an 8-hour work day, he would spend approximately three hours
13   sitting, three hours standing and two hours walking. His job also required frequent
14   bending/stooping and pushing/pulling, and occasional crawling, reaching above
15   shoulder level, kneeling, lifting up to 50 lbs. In performing these duties, Plaintiff
16   was “continuously busy,” and he described the job as “high stress.” While, as noted
17   below, Plaintiff’s job was described by Aon Hewitt as “light duty” and by Aetna as
18   requiring only “sedentary” duty, the requirement that he lift up to 50 lbs. means that
19   his job was more accurately classified as “medium” duty.
20
21         9.     While Plaintiff’s last day of work was in September 2015, his back
22   problems did not suddenly appear. Indeed, his conditions were identified and
23   diagnosed well before that date. Plaintiff’s back pain first began in or about 2000
24   (the result of a significant trauma while moving a sofa sleeper), but Plaintiff found a
25   way to continue to work through various treatments and coping mechanisms. In
26   2012, the pain worsened due, at least in part, to a botched epidural injection causing
27   additional injury, but again, Plaintiff continued to work. Unfortunately, the pain
28   eventually became chronic, affected Plaintiff’s ability to drive more than a few


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 1   miles and ultimately became too much to bear. Accordingly, Plaintiff was forced to
 2   stop working, and instead seek the disability benefits that where promised to him
 3   should be find himself totally disabled and unable to work.
 4
 5         10.    As detailed below, Plaintiff’s medical records support his contention
 6   that he has been disabled since September 4, 2015, and is therefore entitled to the
 7   unpaid STD benefits from January 17, 2016 to March 3, 2016, and LTD benefits
 8   from March 4, 2016 and forward.
 9
10                            Plaintiff’s Claim for STD Benefits
11
12         11.    As a long-time Boeing employee, pursuant to the terms and conditions
13   of the Plan, Plaintiff was entitled to STD benefits because he met the STD Plan’s
14   operative definition of “disabled,” and the other conditions necessary to qualify for
15   STD benefits during the requisite time period.
16
17         12.    The STD Plan defines “disabled as:
18
19         You become disabled as a result of accidental injury, illness, or a
20         pregnancy-related condition and your accidental injury, illness, or
21         pregnancy-related condition prevents you from performing the material
22         duties of your own occupation or other appropriate work the Company
23         makes available.
24                •    You continue under the care of a physician throughout your
25                     disability. You also may be required to be examined by a
26                     physician chosen by the service representative as often as
27                     reasonably necessary to verify your disability.
28


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 1                •    You are earning 80 percent or less of your indexed
 2                     predisability earnings.
 3
 4         13.    Under the STD Plan, a disabled claimant is entitled to up to 26 weeks
 5   of STD benefits. However, while Plaintiff’s claim for STD benefits was initially
 6   approved, he only received only about 20 weeks of STD benefits. Under the terms
 7   of the Plan, Plaintiff is owed 60% of his weekly salary for the last six weeks of STD
 8   benefits, before applying applicable offsets.
 9
10         14.    On or about September 4, 2015, Plaintiff could no longer continue to
11   perform the job duties required of a Project Engineer 6 with Boeing. Accordingly,
12   he complied with the terms of the STD Plan to file a claim. First, he called the
13   Boeing Leave Service Center and notified them of his disability. He was then
14   informed that Aon Hewitt was the administrator for the STD Plan, and would make
15   the decision of whether or not he was disabled under the terms of the STD Plan.
16   Plaintiff then signed authorizations allowing Aon Hewitt to obtain his medical
17   records, and also provided copies of medical records to Aon Hewitt. These medical
18   records, prepared by his treating physicians, supported Plaintiff’s claim for STD
19   benefits.
20
21         15.    For example, on May 27, 2015, Dr. Shiu-Kwan Fok examined Plaintiff
22   and observed reduced range of motion in the cervical spine, and tenderness, reduced
23   range of motion and pain in the thoracic spine. Following the examination, Dr. Fok
24   offered the following diagnoses: nerve root and plexus disorders (353.8), radiculitis,
25   thoracic or lumbar (724.4), chronic pain syndrome (338.4), degeneration of thoracic
26   or thoracolumbar intervertebral disc (722.51), discogenic syndrome of thoracic
27   intervertebral disc (722.11), facet joint syndrome (724.8), neuropathy (355.9),
28   opioid dependence (304.00) and facet joint osteoarthritis (721.90). Dr. Fok also


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 1   prescribed Norco (a combination of acetaminophen and hydrocodone, an opioid,
 2   used to treat pain) and Baclofen (used to treat muscle spasms, pain and stiffness),
 3   stopped the prescription for Valium and prescribed one month of Hysingla (a new
 4   slow-release version hydrocodone, a powerful opioid), to be possibly replaced with
 5   hydrocodone the following month.
 6
 7         16.     As a result of his condition, Plaintiff was forced to stop working on
 8   March 25, 2015 (and was paid STD benefits during his time away from work).
 9   Despite the medication that Plaintiff was prescribed, his pain did not substantially
10   decrease, yet, Plaintiff attempted to work despite the pain and returned to work on
11   June 16, 2015. However, in September 2015, due to the chronic pain, Plaintiff was
12   again forced to stop working, this time for good.
13
14         17.     On September 11, 2015, Plaintiff returned to Dr. Fok, and presented
15   with back pain, joint pain and limitation of motion. Plaintiff explained that he
16   experienced pain in “the mid-back, low back and upper back,” and described the
17   pain as “sharp, throbbing, aching, and shooting, constant, rated 8/10 in severity,
18   relieved by epidural injection and pain medication, aggravated by bending, changing
19   positions, daily activities, extension, flexion, standing, twisting and walking,
20   associated with fatigue and withdrawal from activity.” As a result of his long
21   treatment of Plaintiff, this most recent examination (which showed decreased range
22   of motion due to pain and stiffness) and Plaintiff’s complaints, Dr. Fok diagnosed
23   Plaintiff with mid back pain (724.5/M54.9), degenerative disc disease, thoracic
24   (722.51/M51.34), spinal stenosis of thoracic region (724.01/M48.04), foraminal
25   stenosis of thoracic region (724.01/M4B.04), chronic pain (338.29/G89.29) and
26   opioid dependence (304.00/F11.20), and ordered an MRI and additional facet
27   injections.
28


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 1          18.   On September 21, 2015, Dr. Evan Minkoff noted Plaintiff diagnoses of
 2   pain in thoracic spine (M54.6/724.1) and thoracic spondyloarthritis
 3   (M46.84/721.21), and performed facet joint injections at right T10-11, T11-12 and
 4   T12-L1. These injections are designed to decrease pain, but can themselves be very
 5   painful, and are not always effective for long periods of time. Facet joint injections
 6   are also an attempt at temporary pain relief, rather than a permanent treatment of the
 7   underlying cause of the pain.
 8
 9          19.   Dr. Fok ordered an MRI of Plaintiff’s thoracic spine to examine his
10   bulging discs, and the MRI was reviewed by Amanda Murphy, M.D., on September
11   25, 2015. In her report, she identified “small posterior disc bulges at T2-3, T7-8,
12   T8-9 and T-9.” These reports were consistent with the thoracic spine MRI that
13   Plaintiff submitted to on September 12, 2014, which, in a report prepared by Amy
14   Yaghmai, M.D., showed “mild central posterior disc bulges [] at T7-8 though T9-
15   10.”
16
17          20.   On October 15, 2015, Plaintiff was again examined by Dr. Fok, who
18   noted that Plaintiff continued to experience pain in the mid-back, lower back and
19   upper back, as well as limitation of motion and fatigue. Plaintiff described the pain
20   as “sharp, throbbing, aching, and shooting, constant, rated 8/10 in severity, relieved
21   by epidural injection and pain medication, aggravated by bending, changing
22   positions, daily activities, extension, flexion, standing, twisting and walking,
23   associated with fatigue and withdrawal from activity,” and was recommending
24   another injection for pain relief. On examination, Dr. Fok confirmed tenderness
25   from T7-8 through T9-10, as well as decreased range of motion in the thoracic spine
26   and cervical spine and stiffness of the lumbar spine. Dr. Fok then diagnosed
27   Plaintiff with mid back pain (724.5/M54.9), degenerative disc disease, thoracic
28   (722.51/M51.34), spinal stenosis of thoracic region (724.01/M48.04), foraminal


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 1   stenosis of thoracic region (724.01/M48.04), chronic pain (338.29/G89.29) and
 2   opioid dependence (304.00/F11.20), and ordered another MRI and facet joint
 3   injection, to again be performed by Dr. Minkoff. Plaintiff was also ordered to
 4   continue taking Norco and Baclofen for pain relief.
 5
 6         21.    That same day, October 15, 2015, Dr. Fok completed an Attending
 7   Physician’s Statement in which he listed a primary diagnosis of degenerative disc
 8   disease, spinal stenosis (722.51-724.01) and secondary diagnosis of chronic pain
 9   (338.29). Dr. Fok stated that while he first examined and treated Plaintiff in January
10   2012, he advised Plaintiff to stop working on September 2, 2015. He also noted that
11   Plaintiff has been undergoing facet joint injections and chiropractic treatment as part
12   of his treatment. In the document, Dr. Fok noted that Plaintiff complained on
13   “sharp, throbbing, shooting pain radiating from [his] back,” and that his pain was
14   aggravated by daily activities, standing and walking. He also explained that on
15   examination, he observed spasms and weakness in the mid-torso, as well as reduced
16   range of motion on flexion, extension, lateral bending and rotation of the thoracic-
17   lumbar spine. Dr. Fok also explained that he was unable to bend, stand or drive for
18   long periods of time. In light of these findings, Dr. Fok stated that Plaintiff would
19   be unable to return to work until at least November 17, 2015, and possibly longer.
20
21         22.    From October 2015 to January 2016, Plaintiff continued his treatment
22   with Dr. Fok and Dr. Minkoff, which included examinations, facet injections and
23   medication management. However, there was no appreciable improvement in his
24   condition, with the examinations producing similar findings and diagnoses as in the
25   previous months.
26
27         23.    For example, on November 30, 2015, Dr. Fok completed a Boeing
28   Function Capacities form. On the document, Dr. Fok confirmed that Plaintiff


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  1   remained disabled and was not expected to be able to return to work before February
  2   16, 2016. He once again diagnosed Plaintiff with M51.34 (degenerative disc disease
  3   of the thoracic spine), and listed objective findings of “tenderness” of both the mid
  4   and lower thoracic spine, as well as decreased range of motion of the thoracic spine.
  5   With respect to Plaintiff’s functional capacity, Dr. Fok noted that he could only lift
  6   between 5-10 lbs. for an hour a day, and was permanently unable to lift more than
  7   that weight. In addition, he was prohibited from bending, working overhead and
  8   reaching above shoulder level. He was also limited to sitting and walking between 1
  9   to 3 hours a day, standing and climbing stairs between 0-1 hour a day and unable to
10    climb a ladder. Dr. Fok also noted that Plaintiff was unable to utilize his hands in
11    any activity that caused high-impact vibration or low impact vibration, or required
12    forceful griping or repetitive motion.
13
14          24.    On January 7, 2016, Dr. Fok extended Plaintiff’s disability from
15    January 17, 2016 to March 17, 2016.
16
17          25.    After reviewing these, and other medical documents prepared by
18    Plaintiff’s treating physicians, Aon Hewitt approved and paid Plaintiff’s claim for
19    STD benefits from September 2, 2015 to January 16, 2016.
20
21          26.    However, by letter dated February 10, 2016, Plaintiff was informed by
22    Boeing that Aon Hewitt denied his claim for STD benefits as of January 17, 2016 on
23    the grounds that the medical information in the file was allegedly insufficient to
24    support his ongoing impairment. Specifically, Plaintiff was informed that “Dr. Fok
25    does not notate any abnormal clinical exam findings to support your pain reports.”
26    However, there were three problems with this justification to deny Plaintiff’s STD
27    claim. First, the STD Plan does not specifically require “abnormal clinical exam
28    findings” to support an STD claim. Second, the STD Plan does not specifically state


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  1   that complaints of pain alone are insufficient to support an STD claim. Finally, as
  2   detailed above, the medical records from Dr. Fok and Plaintiff’s other treating
  3   physicians do include “abnormal clinical exam findings” sufficient to support
  4   Plaintiff’s STD claim, including, but not limited to, the MRI reports and the reduced
  5   range of motion on flexion, extension, lateral bending and rotation of the thoracic-
  6   lumbar spine found on examination. The facet injections performed by Dr. Minkoff
  7   are further evidence of support for Plaintiff’s claim, as such injections are only
  8   administered for patients with extensive pain.
  9
10          27.    In denying Plaintiff’s STD claim, neither Aon Hewitt nor Boeing
11    explained why Dr. Fok’s statement that Plaintiff was disabled through at least
12    March 16, 2016 was sufficient to meet Boeing’s Non-Occupational Medical Leave
13    requirement (a different benefit offered by Boeing), yet insufficient to qualify
14    Plaintiff for ongoing STD benefits.
15
16          28.    After receiving the letter notifying him that his STD claim was being
17    denied with approximately six weeks of benefits still remaining, Plaintiff
18    immediately appealed. Plaintiff submitted additional medical documentation in
19    support of his appeal, including medical information dating back to 2014, as well as
20    records from January and February 2016 from Dr. Fok and Dr. Minkoff, which not
21    only documented Plaintiff’s ongoing disability, but also included Dr. Fok’s specific
22    notation extending Plaintiff’s disability from January 17, 2016 to March 17, 2016.
23
24          29.    The additional records also included a report by Dr. Sirinan Tazen
25    following her examination of Plaintiff. In her report, dated February 18, 2016, Dr.
26    Tazen explained that Plaintiff presented with “hypertension, pre-diabetes, chronic
27    upper back and rib cage pain” and was referred “for an evaluation of thoracic spinal
28    stenosis.” She noted that a review of the MRI reports showed mild posterior disc


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  1   bulge at T2-T3 and T7-T8 through T9-T10. She further noted that Plaintiff’s
  2   medication regime included Atenolol (for blood pressure and chest pain), Baclofen,
  3   Hydrochlorothiazide (for high blood pressure and fluid retention), Hydrocodone-
  4   Acetaminophen, imiquimod (a skin cream) and Nifedipine (for high blood pressure
  5   and chest pain).
  6
  7         30.    Dr. Tazen then identified 27 different “active problems” affecting
  8   Plaintiff, including but not limited to: asymptomatic varicose veins (183.90), back
  9   pain (M54.9), benign neoplasm of skin of trunk (D23.5), callus (L84), dysplastic
10    nevus of trunk (D22.5), elbow joint pain (M25.529), foot pain (M79.683),
11    hemangioma of other sites (D18.09), herniation of intervertebral disc between T8
12    and T9 (M5124), hypertension (I10), hyperlipidemia (E78.5), ilioinguinal nerve
13    entrapment, impaired fasting glucose (R73.01), knee pain (M25.569), left lower
14    quadrant pain (R10.32), lymphadenopathy (R59.1), melanocytic nevus (D22.9),
15    neoplasm of uncertain behavior of skin (D48.5), Rash (R21), rupture of extensor
16    tendons of wrist, seborrheic keratosis (L82.1), skin lesion (L98.9), wrist pain
17    (M25.539) and acute sinusitis (J01.90). Following the examination, Dr. Tazen
18    diagnosed Plaintiff with myofascial pain syndrome (M79.1) and herniation of
19    intervertebral disc between T8 and T9 (M51.24). On examination, Dr. Tazen stated
20    that there was “tenderness to palpitation of his upper mid-back and right side of the
21    back,” but that she did not recommend surgical intervention at that time. Dr. Tazen
22    and Plaintiff also discussed a change in the medication; however, Plaintiff noted that
23    certain medications recommended by Dr. Tazen were ineffective in the past and
24    caused drowsiness.
25
26          31.    On February 22, 2016, Plaintiff received confirmation his appeal was
27    received. However, by letter dated March 7, 2016, Plaintiff was informed that “the
28    decision to deny your claim for [STD] benefits will be upheld.” Plaintiff was


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  1   informed that the STD claim was reviewed by a “paper reviewer” who offered an
  2   opinion based solely on a review of Plaintiff’s medical records, but not an
  3   examination of or even a discussion with Plaintiff. Based purely on the “paper
  4   review,” Aon’s hired physician believed Plaintiff was not impaired and had the
  5   ability to perform the duties of an occupation that required “light physical demand
  6   duties.” The denial letter made no attempt to explain away the opinions of Dr. Fok,
  7   Dr. Minkoff and Dr. Tazen regarding Plaintiff’s diagnoses, restrictions and
  8   limitations. Nor did the letter attempt to explain why the MRI results were
  9   insufficient to substantiate Plaintiff’s complaints of pain.
10
11          32.    The February 23, 2016 letter denial letter stated that the decision was
12    final and Plaintiff’s administrative remedies have been exhausted. Plaintiff
13    therefore has the right to bring a civil action under section 502(a) of ERISA
14    following an adverse benefit determination on review.
15
16                              Plaintiff’s Claim for LTD Benefits
17
18          33.    Under the terms of the LTD Plan, Plaintiff is entitled to benefits if he
19    meets the following “Test of Disability:”
20
21          You become disabled as a result of accidental injury, illness, or a
22          pregnancy related condition and your accidental injury, illness, or
23          pregnancy prevents you from performing the material duties of your
24          own occupation (or other work the Company makes available) during
25          the 26 week elimination period and first 24 months of benefits. After 24
26          months of benefits, you must be unable to work at any reasonable
27          occupation for which you may be fitted by training, education, or
28


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  1         experience. (This period may exceed 24 months of benefits if
  2         interrupted by temporary or intermittent returns to work.)
  3                • You continue under the care of a physician throughout your
  4                   disability. You also may be required to be examined by a
  5                   physician chosen by the service representative as often as
  6                   reasonably necessary to verify your disability.
  7                • You are earning 80 percent or less of your indexed
  8                   predisability earnings.
  9
10          34.    Under the LTD Plan, a disabled claimant is entitled to benefits totaling
11    100% of predisability earnings during the first 24 months of disability. After 24
12    months, the monthly benefit is reduced to 80% of predisability earnings. In
13    addition, should Plaintiff remain disabled, he would be entitled to benefits until he
14    reaches his Social Security Retirement age in 2029, when he turns 67.
15
16          35.    While his STD clam was still pending, based on the statements of his
17    physicians, Plaintiff expected that he would likely remain off work beyond the 26
18    weeks that his STD benefits would be payable. Accordingly, he contacted Boeing
19    about LTD benefits and was told to contact Aetna, the LTD claim administrator. On
20    or about January 6, 2016, Plaintiff called Aetna to discuss how to submit a claim for
21    LTD benefits. Aetna informed Plaintiff that it could, and would, obtain the medical
22    documents that were already submitted as part of his then-ongoing STD claim.
23    Aetna also asked Plaintiff to complete LTD claim forms and authorizations, and
24    provided updated medical records.
25
26          36.    In January 2016, pursuant to Aetna’s request, Plaintiff completed
27    additional claim forms including authorizations and reports of other benefits, which
28


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  1   included STD benefits and California State Disability benefits. He also provided
  2   Aetna with medical records supporting his claim.
  3
  4         37.    On January 7, 2016, Plaintiff received additional facet injections from
  5   Dr. Minkoff in an attempt to help manage his ongoing pain. That same day, Dr.
  6   Minkoff also confirmed the previous diagnoses of pain in thoracic spine
  7   (M54.6/724.1) and thoracic spondyloarthritis (M46.84/721.21).
  8
  9         38.    The next day, on January 8, 2016, Dr. Fok again examined Plaintiff,
10    offered diagnoses of mid back pain (724.5/M54.9), degenerative disc disease,
11    thoracic (722.51/M51.34), spinal stenosis of thoracic region (724.01/M48.04),
12    foraminal stenosis of thoracic region (724.01/M48.04), chronic pain
13    (338.29/G89.29), opioid dependence (304.00/F11.20), abdominal pain
14    (789.00/R10.9), kidney stone (592.0/N20.0), liver hemangioma 228.04/018.03 and
15    rib pain on right side (786.50/R07.81). Plaintiff’s medication was changed, with the
16    Percocet (used to treat moderate to moderately severe pain) stopped because it was
17    not effective, but he continued to take Norco and Baclofen. Dr. Fok also extended
18    Plaintiff’s disability from January 17, 2016 to March 17, 2016.
19
20          39.    Per Aetna’s request, Plaintiff again submitted authorizations and claim
21    forms on January 28, 2016. In the “Other Income Questionnaire,” Plaintiff again
22    informed Aetna that he was receiving STD benefits and State Disability benefits.
23    On the “Work History and Education Questionnaire,” Plaintiff described his job as
24    “variety of staff assignments including managing facilit[ies]; preparing, submitting,
25    defending proposals; delivering training; presenting/attending meetings, etc.” Then,
26    asked to list the duties he could no longer perform, Plaintiff stated “cannot perform
27    any; cannot drive other than locally, on opioid medication daily, cannot stand or sit
28    for long periods of time > 1-2 hours.” He then noted that his job required the


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  1   supervision of others, and that in an 8-hour work day, he would spend 3 hours a day
  2   sitting, 3 hours a day standing and two hours a day walking. His job also required
  3   frequent bending/stooping and pushing/pulling, and occasional crawling, reaching
  4   above shoulder level, kneeling, lifting up to 50 lbs.1 Plaintiff also stated that his job
  5   was “continuously busy” and “high stress.” On the forms, Plaintiff also again
  6   provided Aetna with a list of his physicians.
  7
  8         40.    Then on, February 3, 2016 following another examination and further
  9   confirmation of Plaintiff’s continuing disability, Dr. Fok completed an “Attending
10    Provider Statement,” in which he listed a primary diagnoses of M51.34
11    (degenerative disc disease, thoracic) and a second diagnosis of M48.04 (spinal
12    stenosis of thoracic region). Dr. Fok indicated that Plaintiff “can do normal things
13    like bending, standing, driving for short periods,” but that he could not bend, stand
14    or drive “for long periods of time.” Dr. Fok indicated that the treatment plan was to
15    continue the medication, monthly visits and epidural injections. He noted that
16    Plaintiff was not likely to have full recovery, and his prognosis for future
17    improvement was “guarded.”
18
19          41.    Plaintiff also provided Aetna with Dr. Tazen’s February 18, 2016
20    report, which, as summarized above, further confirmed Plaintiff’s diagnoses and
21    related restrictions and limitations
22
23          42.    Despite the very significant medical evidence supporting Plaintiff’s
24    LTD claim, Aetna notified Plaintiff, by letter dated March 4, 2016, that it denied his
25    claim for LTD benefits. In what appeared to be complete reliance upon its unnamed
26    “licensed medical consultant,” Aetna stated that after reviewing the available
27    1
       When asking for Plaintiff’s statement regarding his job duties, Aetna’s form does
28    not provide any guidance as to the difference between “occasionally,” “frequently”
      and “continually.”

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  1   medical documents, “there is no documentation or observation of limitations in
  2   strength or range of motion of the upper and lower extremities.”
  3
  4         43.    Aetna also stated that Plaintiff had the ability to perform the duties of
  5   his “sedentary” occupation. Aetna’s decision to classify Plaintiff’s occupation as
  6   sedentary was in direct contrast to Aon Hewitt’s finding that Plaintiff’s job required
  7   “light” duties, as well as the fact that the need to lift up to 50 lbs. placed his job in
  8   the “medium” duties category per the Department of Labor. The denial letter failed
  9   to address this discrepancy.
10
11          44.    Further, while Plaintiff disputes that his job was sedentary in nature,
12    even if that were true, he is still disabled as the Ninth Circuit created a bright-line
13    rule that a person who cannot sit for more than four hours a day cannot perform a
14    sedentary occupation and is therefore totally disabled.
15
16          45.    In Armani v. Northwestern Mutual Life Insurance Company, 840 F.3d
17    1159 (9th Cir. 2016), the Ninth Circuit explained that, where the claimant’s
18    attending physicians agreed he could sit at most four hours per an eight-hour
19    workday, he was unequivocally disabled from performing his own sedentary
20    occupation as a full-time controller (and from any other sedentary occupation),
21    because sedentary jobs require mostly sitting and generally at least six hours per
22    day. The Court explained (citing numerous cases that agree):
23
24          Accordingly, these cases reflect the logical conclusion that an employee
25          who is unable to sit for more than half of the workday cannot
26          consistently perform an occupation that requires sitting for “most of the
27          time.” We agree with this commonsense conclusion and hold that an
28          employee who cannot sit for more than four hours in an eight-hour


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  1         workday cannot perform “sedentary” work that requires “sitting most of
  2         the time.” Id. at 1163.
  3
  4         46.    The Armani court held as much even though the insurer’s medical
  5   consultants disagreed with the insured’s attending physicians about the claimant’s
  6   sitting limits. They concluded, based on reviewing his medical records, that the
  7   claimant had no sitting restrictions or limitations that would prevent him from
  8   performing a full-time sedentary job (when the insurer had contended sedentary
  9   work involves sitting most of the time). The Ninth Circuit placed no weight on the
10    insurer’s paper review opinions and, despite them, stated there was “undisputed
11    evidence that . . . Armani was unable to sit for more than four hours a day” based on
12    the attending physicians’ opinions. Id. at 1164 (emphasis added).
13
14          47.    The functional limits reported to Aetna from Plaintiff’s attending
15    physicians (that he was limited to sitting and walking between 1 to 3 hours a day)
16    were even more convincing that he could not perform a sedentary job than the
17    attending physicians’ opinions in Armani (sit at most four hours per day). But
18    Aetna still concluded Plaintiff was not disabled based upon its unreliable “paper
19    reviewers.” The Ninth Circuit Armani court placed no weight on paper reviews
20    under similar circumstances, by calling the attending physician evidence
21    “undisputed,” and establishes that Aetna’s conduct here in doing so was patently
22    unreasonable.
23
24          48.    By letter dated July 15, 2016, Plaintiff, through his counsel, appealed
25    Aetna’s denial of his LTD claim, supplementing Plaintiff’s claim with updated
26    medical documents from his doctors supporting his claim for LTD benefits, and
27    detailed Aetna’s errors in denying Plaintiff’s claim for LTD benefits.
28


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  1         49.    The July 15, 2016 appeal letter noted that while Aetna concluded that
  2   Plaintiff was capable of returning to work, the medical records contained in Aetna’s
  3   claim file, prepared by physicians who actually examined and treated Plaintiff,
  4   instead strongly supported his LTD claim. The letter then briefly summarized the
  5   recent medical records of Dr. Fok, Dr. Minkoff, Dr. Murphy, Dr. Yaghmai and Dr.
  6   Tazen that support his claim.
  7
  8         50.    Next, Plaintiff explained that, in addition to the medical evidence
  9   contained in the claim file which supports Plaintiff’s claim for LTD benefits, his
10    more recent medical records overwhelmingly support his claim. Specifically, the
11    records prepared by Dr. Fok and Melvin Snyder, M.D. support his contention that he
12    was and has remained totally disabled since September 3, 2015. Indeed, the medical
13    records reveal that Plaintiff’s pain and overall condition have become progressively
14    worse, as expected given that his diagnoses are degenerative in nature.
15
16          51.    For example, Dr. Fok examined and treated Plaintiff on March 7, 2016,
17    noting the same complaints of lower back pain, at a level 7 of 10 in severity, and
18    radiating to his ribs. In addition, it was noted that his pain was “aggravated by
19    walking, standing, and too long, driving and relieved by medication and stretching.”
20    After confirming that Plaintiff has all of the same diagnoses as before, he again
21    prescribed Baclofen and Norco and recommended additional facet injections.
22
23          52.    On March 9, 2016, Plaintiff was examined by Dr. Snyder. In the
24    Encounter Note, Dr. Snyder explained that Plaintiff’s pain prevented a return to
25    work, and that he was taking Hydrocodone, Diazepam (used to treat muscle
26    spasms), Atenolol, Nifedipine and Hydrochlorothiazide. On examination and
27    review of the MRI reports, Dr. Snyder confirmed that Plaintiff suffered from
28    degenerative disc disease which caused “disabling pain.” Dr. Snyder further noted


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  1   that Plaintiff “is disabled by the pain, “is unable to increase any activities,” “is
  2   unable to work and his quality of life is significantly affected.” Despite this, Dr.
  3   Snyder did not believe that Plaintiff was a candidate for surgical intervention, and
  4   instead recommended “extensive rest” and continued injections.
  5
  6         53.    On March 15, 2016, Dr. Fok wrote a letter detailing Plaintiff’s medical
  7   history, current symptoms and the treatment he received for those conditions. He
  8   noted that Plaintiff “describes the pain as a constant dull, aching, and burning
  9   sensation, and “aggravated by driving, standing for long periods, bending, twisting,
10    lifting objects, and walking.” Dr. Fok also noted that Plaintiff’s “persistent pain
11    impairs his ability to concentrate,” and causes difficulty sleeping. Dr. Fok indicated
12    that Plaintiff “has tried a total of 12 injection procedures, which have included
13    thoracic epidural steroid injections and intercostal blocks,” but those only provided
14    “temporary relief,” and overall “his pain has worsened.” He further explained that
15    Plaintiff “is unable to return to work, in spite of several months of treatment,
16    including rest, home exercise, applying heat, walking exercises, and the
17    abovementioned procedures.” Dr. Fok then stated that “his chronic pain continues
18    to impair his ability to function at work.”
19
20          54.    Dr. Fok noted that the MRIs both showed “multiple bulging discs at the
21    thoracic T2-3, T7-8, T8-9, and T9-10 levels.” In conclusion, he noted that “due to
22    multilevel bulging discs in the thoracic spine … Plaintiff has suffered from chronic
23    thoracic pain for several years, and has tried several conservative modalities of care
24    with no long-term benefits.” Accordingly, with the letter, Dr. Fok “certifies the
25    patient should be considered for long-term disability, in lieu of his chronic pain
26    impairing his ability to function at work as an aerospace engineer.”
27
28


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  1         55.    On March 18, 2016, Dr. Fok completed an Aetna Capabilities and
  2   Limitations Worksheet, as well as an Attending Provider Statement. On the
  3   Capabilities and Limitations Worksheet, Dr. Fok reported that Plaintiff was limited
  4   to only occasional sitting, standing, walking, climbing, crawling, kneeling, lifting,
  5   pulling, pushing, reaching, carrying, bending, twisting and lifting up to 20 lbs.
  6   because of his degenerative disc disease and use of Baclofen and Norco. Based on
  7   these restrictions and his ongoing treatment and examination of Plaintiff, Dr. Fok
  8   stated that Plaintiff was “unable to work.”
  9
10          56.    On the Attending Provider Statement, Dr. Fok listed a primary
11    diagnosis of M51.34 (degenerative disc disease, thoracic) and a secondary diagnosis
12    of M48.04 (spinal stenosis of thoracic region), and stated that he first treated
13    Plaintiff for these conditions on January 17, 2012. Asked to list the “specific
14    physical, cognitive or behavioral activity/function” that Plaintiff was unable to
15    perform, Dr. Fok listed “no bending, standing, driving for long periods of time,” but
16    explained that he is able to perform these tasks for short periods of time. Dr. Fok
17    further noted Plaintiff could only sit for ten minutes every hour. Dr. Fok completed
18    similar documents for MetLife that same day, in connection with Plaintiff’s waiver
19    of life insurance premium claim. In that document, Dr. Fok offered similar
20    statements regarding Plaintiff’s condition, and affirmatively stated that he was
21    totally disabled from both his own occupation, and any occupation, and would be
22    for an extended period of time.
23
24          57.    On April 12, 2016, Dr. Fok extended Plaintiff’s disability from May
25    18, 2016 to July 18, 2016, and prepared another Progress Note that was substantially
26    similar to the records described above and below. Importantly, he did not note any
27    improvement in Plaintiff’s condition. Similarly, on June 13, 2016, Dr. Fok
28


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  1   examined and treated Plaintiff and extended his disability through at least August
  2   19, 2016.
  3
  4         58.    Next, the July 15, 2016 appeal letter detailed why it was improper for
  5   Aetna to rely on the “paper review” reports in-house employees, in-house nurse,
  6   Tyler Thornton, and an in-house physician, Matthew Brodie, M.D.. In addition to
  7   detailing the deficiencies in the reports by Nurse Thornton and Dr. Brodie, Plaintiff
  8   noted that an insurer’s reliance on peer reviewers who present their opinions in a
  9   conclusory fashion, making it unclear how they reached contrasting opinions from
10    those of the insured’s attending physicians, is improper as such conclusions should
11    not be relied upon over the opinions of the insured’s attending physicians.
12
13          59.    The fourth point raised by the July 15, 2016 appeal letter was that
14    Aetna improperly required that Plaintiff meet a heightened definition of disability
15    not contained in the Plan. Specifically, while Aetna and Dr. Brodie concluded that
16    Plaintiff was not disabled due to the erroneous conclusion that the claim file lacked
17    “objective” evidence of his disability, the LTD Plan does not include a requirement
18    that the medical evidence offered in support of a claim be solely, or even mostly,
19    “objective,” and that subjective complaints of pain are necessarily insufficient to
20    support an LTD claim.
21
22          60.    Next, Plaintiff noted that while Plaintiff’s claim for STD was initially
23    granted, Aetna denied his denied his ongoing claim without substantial evidence of
24    a change in or improvement of his condition or an adequate explanation of why he
25    no longer qualified for disability. Applicable case law requires that substantial
26    evidence must support a plan fiduciary’s decision not to pay benefits following an
27    initial finding of disability. See, e.g., Saffon v. Wells Fargo & Co. Long Term
28    Disability Plan, 522 F.3d 863, 871 (9th Cir. 2008) (“MetLife had been paying


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  1   Saffon long-term disability benefits for a year, which suggests that she was already
  2   disabled. In order to find her no longer disabled, one would expect the MRIs to
  3   show an improvement, not a lack of degeneration”); Walke v. Group Long Term
  4   Disability Ins., 256 F.3d 835, 840 (8th Cir. 2001).
  5
  6         61.    In addition, during this time, the EDD continued to approve and pay
  7   Plaintiff’s claim for California State Disability benefits, and Metropolitan Life
  8   Insurance Company, the administrator of Boeing Life Insurance Plan, reviewed the
  9   same medical information as Aetna, and granted Plaintiff a waiver of the life
10    insurance premium based on the finding that he was and remains disabled because
11    he was unable to perform the material and substantial duties of his occupation.
12    Similarly, on June 27, 2016, Boeing extended his leave of absence through at least
13    August 18, 2016 based on the finding that he was unable to return to work. In order
14    to provide Plaintiff with a “full and fair” review of his claim, Aetna was required to
15    take these other disability determinations into account.
16
17          62.    While Plaintiff received STD benefits from September 4, 2015 to
18    January 17, 2016, in the denial letter, and other benefits thereafter, Aetna failed to
19    provide substantial evidence of an improvement in Plaintiff’s condition to justify its
20    decision. Indeed, as Plaintiff’s condition is degenerative, nothing in Plaintiff’s
21    claim records justified Aetna’s denial. Aetna’s failure to explain why it denied
22    Plaintiff’s claim for LTD benefits without substantial evidence of improvement is
23    evidence of its impropriety.
24
25          63.    Finally, the July 15, 2016 appeal letter explained that Aetna’s failure to
26    explain what additional information was needed to support Plaintiff’s claim for
27    benefits was a wrongful failure to engage with Plaintiff in a “meaningful dialogue.”
28


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  1         64.    Following the submission of the July 15, 2016 appeal letter, Plaintiff
  2   provided additional medical documentation supportive of his claim. First, on
  3   August 3, 2016, Plaintiff proved a record from Dr. Fok placing him off work until at
  4   least October 20, 2016. In addition, Plaintiff completed Aetna’s Appeal Request
  5   Form in which he indicated that due to pain in his mid-back and radiating around his
  6   rib cage, he is unable to return to work. In addition, pursuant to his physician’s
  7   recommendations, Plaintiff is taking opioid medication throughout the day, which
  8   prevents sustained focus and concentration.
  9
10          65.    Then, on August 11, 2016, Plaintiff provided updated medical records
11    from Dr. Fok and Dr. Minkoff. These documents further confirmed the diagnoses,
12    restrictions and limitations detailed in Plaintiff’s other medical documents,
13    confirming his entitlement to LTD benefits.
14
15          66.    Despite the consistent, overwhelming evidence of Plaintiff’s disability,
16    Aetna notified Plaintiff, by letter dated September 8, 2016, that it was upholding the
17    denial of his claim asserting that the medical evidence does not support deficits in
18    Plaintiff’s functional ability that would prevent him from performing the material
19    duties of his occupation. Despite Plaintiff’s July 15, 2016 appeal letter detailing the
20    many problems with Aetna’s denial decision, Aetna failed to address any of the
21    issues raised by Plaintiff in that letter. Instead, Aetna made it clear that its decision
22    was almost entirely on the biased and uniformed physician review conducted by
23    “paper reviewer” Behzad Emad, M.D.
24
25          67.    In denying Plaintiff’s claim for ongoing LTD benefits, Aetna’s
26    placement of greater weight upon the opinions of a paid medical reviewer over the
27    conclusions of Plaintiff’s treating physicians is improper for several reasons. First,
28    the opinion was based solely on a “paper review” of Plaintiff’s medical records, not


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  1   an actual examination of Plaintiff. Aetna failed to exercise its right to have Plaintiff
  2   examined by an outside physician. Second, this reviewer downplayed the findings
  3   of Plaintiff’s treating physicians regarding his functional limitations so as to reach a
  4   finding that he was not disabled. Third, the conclusions were cursory and
  5   conclusory in nature with no analysis of the medical records or the contrary opinions
  6   of Plaintiff’s treating physicians. Finally, while Dr. Emad stated that a copy of his
  7   report was sent to Dr. Fok’s office for review and comment, this was false as Dr.
  8   Fok did not receive the report, nor did he receive any of the calls Dr. Emad allegedly
  9   made to his office. This falsification in his report evidences Dr. Emad’s bias in
10    favor of Aetna.
11
12          68.    The decision to deny an insured’s claim after only a “paper review” of
13    the available records has been criticized by the Ninth Circuit. Montour v. Hartford
14    Life & Accident, 588 F.3d 623, 630 (9th Cir. 2009) (citing Metropolitan Life Ins. Co.
15    v. Glenn, 554 U.S. 105 (2008)). An administrator may not “arbitrarily refuse to
16    credit a claimant’s reliable evidence, including the opinions of treating physicians.”
17    Id.; see also Michaels v. Equitable Life Assur. Soc., 305 F. App’x 896, 906-07 (3d
18    Cir. 2009) (questioning administrator’s choice to give determining weight to the
19    conclusions of expert’s paper review reports over the conclusions of claimant’s
20    treating physicians); Moskalski v. Bayer Corp., 2008 WL 2096892 at *9 (W.D. Pa.
21    2008) (“[T]he selective, self-serving use of medical information is evidence of
22    arbitrary and capricious conduct.”). Indeed, reported decisions reflect that it is often
23    improper for a plan administrator to deny a claim by relying on the paper-review
24    reports of consultants that oppose the conclusions of treating physicians. See e.g.,
25    Schwarzwaelder v. Merrill Lynch & Co., Inc., 606 F. Supp. 2d. 546, 559 (W.D. Pa.
26    2009); Elms v. Prudential Ins. Co. of Am., 2008 WL 4444269 at *15 (E.D. Pa.
27    2008) (It is “important to note that no doctor who has actually treated [plaintiff] or
28    examined him in person, as opposed to performing a “file review” has found him to


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  1   be capable . . . of performing work-related tasks.”); Winkler v. Metropolitan Life
  2   Ins. Co., 170 F. App’x 167 (2d Cir. 2006) (vacating denial as arbitrary where it was
  3   based “entirely on the opinions of three independent consultants who never
  4   personally examined [plaintiff], while discounting the opinions” of the treating
  5   physicians); Glenn v. MetLife, 461 F.3d 660, 671 (6th Cir. 2006), aff’d by
  6   Metropolitan Life Ins. Co. v. Glenn, 554 U.S. 105 (2008) (finding it “perplexing”
  7   that the plan administrator disregarded the opinion of the “only physician to have
  8   personally treated or observed” the claimant); Kinser v. Plans Admin. Comm. of
  9   Citigroup, Inc., 488 F. Supp. 2d 1369, 1382-83 (M.D. Ga. 2007) (concluding it was
10    unreasonable for the plan administrator to ignore the treating physician’s “clearly
11    stated and supported opinion” and rely instead on “a cold record file-review by a
12    non-examining” consultant).
13
14          69.    The Supreme Court has recognized that when a fiduciary, such as
15    Aetna, uses medical reviewers on a regular basis, a concern arises from the fact that
16    the physicians may be motivated to render opinions in favor of the insurer. See
17    Black & Decker Disability Plan v. Nord, 538 U.S. 822, 832, 155 L.Ed.2d 1034
18    (2003) (“Nor do we question the [Ninth Circuit] Court of Appeals’ concern that
19    physicians repeatedly retained by benefits plans may have an ‘incentive to make a
20    finding of not disabled in order to save their employers money and to preserve their
21    own consulting arrangements.’”). Similarly, other courts recognized that the
22    opinions of captive medical professionals have less credibility since they too have
23    an incentive to slant their reports to favor their employer. See Graham v. L & B
24    Realty Advisors, Inc., 2003 WL 22388392, *4 (N.D. Tex., 2003) (court “troubled”
25
26
27
28


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  1   by the potential conflict of interest from Dr. Neuren’s position as a captive
  2   professional).2
  3
  4         70.    Additionally, Aetna neglected to describe specifically what functional
  5   impairments would establish Plaintiff’s entitlement to benefits. Moreover, the
  6   denial letter failed to identify what additional evidence was necessary to support
  7   Plaintiff’s claim for LTD benefits. Aetna’s failure to explain what additional
  8   information was needed to support Plaintiff’s claim for benefits was a wrongful
  9   failure to engage with Plaintiff in a “meaningful dialogue.” Salomaa v. Honda Long
10    Term Disability Plan, 642 F.3d 666 (9th Cir. 2011) (holding where the administrator
11    issues a denial based on absence of medical evidence, the administrator is obligated
12    to state in plain language what additional evidence it needed to satisfy the
13    “meaningful dialogue” requirement).
14
15          71.    While the September 8, 2016 denial letter stated that Plaintiff’s medical
16    records lack “clinical correlation for any specific restrictions preventing [him] from
17    working,” Aetna failed to instruct Plaintiff as to what “clinical correlations” it would
18    deem sufficient to support his claim for benefits.
19
20          72.    Even more importantly, Aetna indicated that Plaintiff’s restrictions and
21    limitations did “not rise to the level of severity, which prevented him from
22    performing a sedentary occupation, such as his own occupation as a Project
23    Engineer 6.” However, Plaintiff’s job was not sedentary in nature. As Plaintiff
24    described on the Aetna “Work History and Education Questionnaire,” the physical
25    requirements of his job required approximately three hours a day sitting, three hours
26    a day standing and two hours a day walking, as well as frequent bending/stooping
27    2
       Aon Hewitt also used the opinion of a “paper review” physician who never
28    examined Plaintiff, as a basis to deny Plaintiff’s ongoing STD claim. Accordingly,
      Aon Hewitt’s decision was similarly biased and improper.

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  1   and pushing/pulling, and occasional crawling, reaching above shoulder level,
  2   kneeling, lifting up to 50 lbs. (Further, even Aon Hewitt stated that Plaintiff’s job
  3   required “light” not “sedentary” duties.) Simply put, Aetna mischaracterized the
  4   nature of Plaintiff’s occupation so it could deny his claim when in fact these
  5   physical requirements were beyond Plaintiff’s capability.
  6
  7         73.    The job description Aetna obtained from Boeing described the job as
  8   sedentary, but it did not list any actual physical requirements. Faced with the
  9   disparity, Aetna failed to follow up with Boeing an attempt to resolve the dispute.
10    Instead, Aetna put its own interests ahead of Plaintiff’s, and chose to focus only on
11    the evidence that supported a claim denial, and deemphasizing evidence that
12    supported Plaintiff’s claim. The United States Supreme Court criticized such
13    actions in Metropolitan Life Insurance Co. v. Glenn, 554 U.S. 105 (2008).
14
15          74.    Finally, Aetna explained that in denying Plaintiff’s claim, it was relying
16    on Dr. Emad’s conclusion that “the clinical presentation did not support any
17    functional impairment.” However, this is incorrect as the medical documents from
18    Plaintiff’s physicians, and his own self-reports of limiting pain, document his
19    “functional impairment.”
20
21          75.    Aetna’s disregard of Plaintiff’s self-reported complaints without
22    explanation, and its attempt to demand clinical or objective evidence where no such
23    evidence exists, or was overlooked by Aetna, is improper. In Hagerty v. American
24    Airlines Long Term Disability Plan, 2010 U.S. Dist. LEXIS 91995 (N.D. Cal. Sept.
25    3, 2010), the court noted that “[n]umerous courts found it [in] error to require
26    objective medical evidence of complaints that are inherently subjective in nature.”
27    Id. at *6 (citing Montour, supra at 635 (“unreasonable for Hartford to require
28    Montour to produce objective proof of his pain level”)); Cook v. Liberty Life Assur.


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  1   Co. of Boston, 320 F.3d 11, 21 (1st Cir. 2003) (requiring objective documentation of
  2   Chronic Fatigue Syndrome is unreasonable); Mitchell v. Eastman Kodak Co., 113
  3   F.3d 433 (3rd Cir. 1997) (same). Indeed, an ERISA plaintiff is entitled to rely on
  4   credible subjective evidence in support of his claim. Oldoerp v. Wells Fargo & Co.
  5   Long Term Disability Plan, 2014 U.S. Dist. LEXIS 9847, 2014 WL 294641 (N.D.
  6   Cal. Jan. 27, 2014). Aetna failed to explain why Plaintiff’s self-reported complaints,
  7   which are consistently documented by several treating physicians and therapists, are
  8   insufficient to establish his disability, and alternatively, what sort of clinical findings
  9   or diagnostic evidence would be sufficient to establish Plaintiff’s disability.
10
11          76.    After receiving Aetna’s denial letter, Plaintiff contacted Dr. Fok to ask
12    about Dr. Emad’s statement that a copy of his report was sent to Dr. Fok’s office for
13    review and comment, but that Dr. Fok failed to respond. However, when reached,
14    Dr. Fok denied that he received Dr. Emad’s report, and also the assertion that he
15    received any of the calls Dr. Emad allegedly made to his office
16
17          77.    In light of Aetna’s failure to ensure that Dr. Fok was provided with the
18    proper opportunity to review a copy of Dr. Emad’s report prior to its claim decision,
19    Plaintiff obtained a copy of the Administrative Record and provided a copy of Dr.
20    Emad’s report to Dr. Fok himself. Dr. Fok reviewed the report, and prepared a
21    response, dated December 12, 2016.
22
23          78.    On December 15, 2016, Plaintiff, though his counsel, provided Dr.
24    Fok’s December 12, 2016 letter to Aetna. In the letter, Dr. Fok explained that
25    neither he nor his office received any calls or a copy of a report from Dr. Emad and
26    that he reviewed Dr. Emad’s report, but that he “disagree[d] with his conclusions.”
27    Dr. Fok stated that Dr. Emad’s assertion that the medical records do not support
28    Plaintiff’s claims of pain, restrictions and limitations was “patently untrue,” and


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  1   offered specific examples from the medical records to support his position. Dr. Fok
  2   next explained that Dr. Emad’s conclusion that Plaintiff’s medical records do not
  3   support functional limitations after March 7, 2016 is similarly incorrect. Dr. Fok
  4   then noted that Plaintiff’s conditions are degenerative in nature and “do not
  5   suddenly resolve themselves as Dr. Emad seems to suggest occurred.” Finally, Dr.
  6   Fok explained that Dr. Emad had no basis to offer opinions regarding Plaintiff’s
  7   functional limitations without examining him. With his letter, Dr. Fok asked Aetna
  8   to reverse its claim decision. (Along with Dr. Fok’s letter, Plaintiff also included his
  9   Progress Note from December 1, 2016 and the prescription for Norco and Valium.)
10
11          79.    By letter dated January 17, 2017, Aetna informed Plaintiff that its
12    September 8, 2016 decision was final, and that it would not consider the information
13    that its “paper review” physician failed to contact Dr. Fok. Aetna also refused to
14    consider Dr. Fok’s additional statements in support of Plaintiff’s disability, which
15    Aetna failed to obtain during the claim review process.
16
17          80.    Aetna’s denial letters stated that its decision is final, Plaintiff’s
18    administrative remedies have been exhausted and he has the right to bring a civil
19    action under section 502(a) of ERISA following an adverse benefit determination on
20    review.
21
22                                      Standard of Review
23
24          81.    The proper standard of review is de novo. Neither Aon Hewitt nor
25    Aetna have discretionary authority pursuant to California Insurance Code Section
26    10110.6, and it erred in denying Plaintiff’s claims. California Insurance Code
27    Section 10110.6 states in the relevant part:
28


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  1         (a) If a policy, contract, certificate, or agreement offered, issued,
            delivered, or renewed, whether or not in California, that provides or
  2         funds life insurance or disability insurance coverage for any California
  3         resident contains a provision that reserves discretionary authority to the
            insurer, or an agent of the insurer, to determine eligibility for benefits or
  4         coverage, to interpret the terms of the policy, contract, certificate, or
  5         agreement, or to provide standards of interpretation or review that are
            inconsistent with the laws of this state, that provision is void and
  6         unenforceable.
  7         (b) For purposes of this section, “renewed” means continued in force on
            or after the policy's anniversary date.
  8         (c) For purposes of this section, the term “discretionary authority”
  9         means a policy provision that has the effect of conferring discretion on
            an insurer or other claim administrator to determine entitlement to
10          benefits or interpret policy language that, in turn, could lead to a
11          deferential standard of review by any reviewing court.
            ...
12          (g) This section is self-executing. If a life insurance or disability
13          insurance policy, contract, certificate, or agreement contains a provision
            rendered void and unenforceable by this section, the parties to the
14          policy, contract, certificate, or agreement and the courts shall treat that
15          provision as void and unenforceable.

16
            82.    This section, by its own terms, applies to any policy or agreement that
17
      provides “disability insurance coverage” to “any California resident” regardless of
18
      where it was offered, issued, delivered, or renewed. Here, as there is no dispute that
19
      Plaintiff is a California resident, this section applies to the Policy and Plan at issue
20
      so long as they were offered, issued, delivered, or renewed after the effective date of
21
      the statute, which is January 1, 2012, but before Plaintiff’s claim accrued. See
22
      Gonda v. The Permanente Med. Grp., Inc., 2014 WL 186354, at *2 (N.D. Cal. Jan.
23
      16, 2014). No party disputes that Plaintiff’s STD claim accrued no earlier than
24
      February 10, 2016, the date on which his claim for STD benefits was first denied,
25
      and that his LTD claim accrued no earlier than March 4, 2016, the date on which his
26
      claim for LTD benefits was first denied. See Grosz–Salomon v. Paul Revere Life
27
28


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  1   Ins., 237 F.3d 1154 (9th Cir. 2001) (an ERISA claim for relief based on a denial of
  2   ERISA benefits accrues at the time benefits are denied).
  3
  4           83.   Thus, the only issue is whether the policy was offered, issued,
  5   delivered, or renewed on or after January 1, 2012, but before the February 10, 2016
  6   and March 4, 2016 denials. For the purposes of section 10110.6, a policy
  7   automatically renews every year on the policy’s anniversary date. See Cal. Ins.
  8   Code § 10110.6(b) (providing that “renewed” means “continued in force on or after
  9   the policy’s anniversary date”). Here, the Policy is dated January 1, 2006. This
10    means the Policy’s renewal date falls within the relevant time period, as the policy
11    continued in force through January 1, 2012 and renewed annually. See Gonda,
12    supra at 1093-1094; Polnicky v. Liberty Life Assur. Co. Of Boston, 999 F. Supp. 2d
13    1144, 1148 (N.D. Cal. 2013) (applying de novo standard of review to ERISA claim
14    for denial of benefits because “[t]he Policy was continued in force after its January
15    1, 2012 anniversary date, [so] any provision in the Policy attempting to confer
16    discretionary authority to Liberty Life was rendered void and unenforceable”). As
17    such, any grants of discretion that can be deemed to be a part of the Policy are void
18    and unenforceable, and thus, the denial of benefits at issue must be reviewed de
19    novo.
20
21            84.   In a de novo review, “the burden of proof is placed on the claimant” to
22    establish entitlement to plan benefits. Muniz v. Amec Const. Mgmt., Inc., 623 F.3d
23    1290, 1294 (9th Cir. 2010). “When conducting a de novo review of the record, the
24    court does not give deference to the claim administrator’s decision, but rather
25    determines in the first instance if the claimant has adequately established that he or
26    she is disabled under the terms of the plan.” Id. at 1295-96. The trial court
27    performs an “independent and thorough inspection” of the plan administrator's
28    decision in order to determine if the plan administrator correctly or incorrectly


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  1   denied benefits. Silver v. Executive Car Leasing Long–Term Disability Plan, 466
  2   F.3d 727, 733 (9th Cir. 2006). De novo review permits the trial court to “evaluate
  3   the persuasiveness of conflicting testimony and decide which is more likely true.”
  4   Kearney v. Standard Ins. Co., 175 F.3d 1084, 1095 (9th Cir.1999).
  5
  6         85.    Regardless of the standard of review this Court applies, Aon Hewitt
  7   and Aetna reached incorrect claim decisions given the ample medical evidence in
  8   Administrative Records that support Plaintiff’s disability claims. Both Aon Hewitt
  9   and Aetna conducted biased claims investigations that failed to provide Plaintiff
10    with a full and fair review of his claims, in violation of ERISA.
11
12          86.    Plaintiff is now, and at all times relevant remained, “disabled” as
13    defined in both the STD Plan and LTD Plan, and has now, and at all times relevant,
14    convincingly demonstrated his total disability through medical records and other
15    documents, information and correspondence.
16
17                               FIRST CLAIM FOR RELIEF
18      To Recover Benefits, Attorneys’ Fees, Pre-Judgment and Post-Judgment Interest
19                under ERISA Plan – 29 U.S.C. sections 1132(a)(1)(B), (g)(1)
20          (Plaintiff against Aon Hewitt, Boeing and Aetna and Does 1 through 10)
21
22          87.    Plaintiff incorporates the previous paragraphs as though fully set forth
23    herein.
24
25          88.    ERISA section 502(a)(1)(B), 29 U.S.C. section 1132(a)(1)(B), permits
26    a plan participant to bring a civil action to recover benefits due to him under the
27    terms of a plan, to enforce his rights under the terms of a plan, and/or to clarify his
28    rights to future benefits under the terms of a plan.


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  1         89.    At all relevant times, Plaintiff has been entitled to both STD and LTD
  2   benefits under the Plans. By denying Plaintiff’s claims for STD and LTD benefits
  3   under the Plans, and by related acts and omissions, Defendants violated, and
  4   continue to violate, the terms of the Plans and Plaintiff’s rights thereunder.
  5
  6         90.    Defendants failed to follow even the most rudimentary claims
  7   processing requirements of ERISA and the Department of Labor Regulations and
  8   has failed to conduct a “full and fair review” of the claim denial, as required by 29
  9   U.S.C. section 1133(2). Thus, even if the Plans vests discretion in Aon Hewitt
10    and/or Aetna to make benefit determinations, no deference is warranted with regard
11    to the handling of the claims. See Booton v. Lockheed Medical Benefit Plan, 110
12    F.3d 1461, 1465 (9th Cir. 1997); Jebian v. Hewlett-Packard Company Employee
13    Benefits Organization Income Protection Plan, 349 F.3d 1098, 1105 (9th Cir. 2003)
14    (“When decisions are not in compliance with regulatory and plan procedures,
15    deference may not be warranted.”).
16
17          91.    A “prudent person” standard is imposed on ERISA fiduciaries. See 29
18    U.S.C. §1104(a)(1)(b). A “fiduciary” is also under a duty of loyalty and care to the
19    beneficiaries of the Plan. See 29 U.S.C. section 1104(a)(1). Under ERISA: (1) a
20    fiduciary must discharge its duties solely in the interest of plan participants and
21    beneficiaries and for the exclusive purpose of providing plan benefits to them; (2) a
22    fiduciary must act with care, skill, prudence and diligence; and (3) a fiduciary may
23    not act in any capacity involving the Plan, on behalf of a party whose interests are
24    adverse to the interests of the Plan, its participants, or its beneficiaries. Aon
25    Hewitt’s and Aetna’s handling of Plaintiff’s disability benefit claims fall far short of
26    these standards.
27
28


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  1         92.      For all the reasons set forth above, the decisions to deny Plaintiff’s
  2   claims for disability insurance benefits were arbitrary, capricious, wrongful,
  3   unreasonable, irrational, contrary to the evidence, contrary to the terms of the Plans
  4   and contrary to law. Aon Hewitt and Aetna abused their discretion, if any, in
  5   deciding to deny the claims as the evidence shows the denial decisions were
  6   arbitrary and capricious. Further, given Aetna funds the payment of LTD benefits,
  7   its denial decision heighten the level of skepticism it will receive the Court. See
  8   Abatie v. Alta Health & Life Insurance Co., 458 F.3d 955 (9th Cir. 2006);
  9   Metropolitan Life Insurance Co. v. Glenn, 554 U.S. 105 (2008). Aon Hewitt’s and
10    Aetna’s denial of Plaintiff’s claim constitutes an abuse of discretion as evidenced
11    by, but not limited to the following conduct:
12
13                 Ignoring the obvious evidence supporting his claims for STD and
14                   LTD benefits, and instead combing the record and taking selective
15                   evidence out of context and greatly over-emphasizing its
16                   significance as a pretext to deny Plaintiff’s claim;
17
18                 Ignoring the opinions of Plaintiff’s treating physicians, who
19                   maintained that Plaintiff is and was unable to return to work.
20                   Deference should be given to these physicians’ opinions as there
21                   are no specific, legitimate reasons for rejecting these physicians’
22                   opinions which are based on substantial and objective evidence in
23                   the claim file;
24
25                 Requiring that Plaintiff provide objective evidence of his
26                   functional loss secondary to impairment stemming from severe
27                   back pain, when the Plans do not require that a claimant provide
28                   objective evidence of a disability. In the alternative, Defendants


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  1              ignored Plaintiff’s objective proof of disability, which included
  2              MRI reports, decreased range of motion and tenderness which
  3              confirmed Plaintiff’s diagnoses of degenerative disc disease, spinal
  4              stenosis, severe and disabling back pain and other conditions;
  5
  6            Refusing to examine Plaintiff, instead relying on “paper reviews”
  7              conducted by its obviously biased reviewers, who issued opinions
  8              contrary to Plaintiff’s treating physicians, who ignored medical
  9              records supporting Plaintiff’s disability and who fabricated alleged
10               attempts to contact Plaintiff’s doctor in order to make it appear that
11               his treating doctor would not respond to him. The paper reviewers
12               downplayed the findings of Plaintiff’s treating physicians
13               regarding his functional limitations, so as to reach findings that
14               Plaintiff was not disabled. The paper reviewers’ conclusions were
15               cursory and conclusory in nature with no analysis of the medical
16               records and/or the contrary opinions of Plaintiff’s treating
17               physicians;
18
19             Failing to reconcile Plaintiff’s initial award of STD benefits,
20               Plaintiff’s receipt of California State Disability benefits, Plaintiff’s
21               receipt of disability based waiver of premium benefits under
22               Boeing’s Life Insurance Plan after a review by life insurance
23               insurer Metropolitan Life Insurance Company and Boeing’s
24               decision to approve Plaintiff’s extended leave of absence from
25               work after finding he was unable to return to work;
26
27             Failing to accurately assess Plaintiff’s occupational duties;
28


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  1                Failing to make a “full and fair” assessment of the claims and to
  2                  clearly communicate to Plaintiff the “specific reasons” for his
  3                  benefit denials;
  4
  5                Failing to engage in a “meaningful dialogue” with Plaintiff. Aon
  6                  Hewitt and Aetna were obligated to, but failed to, state in plain
  7                  language what additional evidence they needed and what questions
  8                  they needed answered so that Plaintiff could provide the additional
  9                  material and information to support his claims; and
10
11                 Failing to comply with ERISA’s procedural requirements
12                   providing a full and fair review.
13
14          93.      As a direct and proximate result of the denial of Plaintiff’s claims for
15    STD and LTD benefits, Plaintiff has been deprived of STD benefits from January
16    17, 2016 to March 3, 2016, and LTD benefits from and after March 4, 2016.
17
18          94.      As a direct and proximate result of the denial of his claims for STD and
19    LTD benefits, Plaintiff has been required to incur attorneys’ fees to pursue this
20    action, and is entitled to reimbursement of these fees pursuant to 29 U.S.C. section
21    1132(g)(1).
22
23          95.      A controversy now exists between the parties as to whether Plaintiff is
24    disabled as defined in the Plans and therefore entitled to STD and LTD benefits.
25    Plaintiff seeks the declaration of this Court that he meets the Plans’ definitions of
26    disability, and is entitled to benefits under the Plans. In the alternative, Plaintiff
27    seeks a remand to the claims administrators for a determination of Plaintiff’s claims
28    consistent with the terms of the Plans.


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  1         96.    Plaintiff alleges all of the same conduct against Does 1 through 10 as it
  2   does against Defendants in this First Claim for Relief and in this Complaint.
  3
  4                                 PRAYER FOR RELIEF
  5
  6         WHEREFORE, Plaintiff prays that this Court grant the following relief
  7   against all Defendants:
  8
  9           1.   For all Plan benefits due and owing Plaintiff, including STD and LTD
10                 benefits;
11            2.   For costs and reasonable attorneys’ fees pursuant to 29 U.S.C. section
12                 1132(g);
13            3.   For pre-judgment and post-judgment interest on the principal sum,
14                 accruing from the date the obligations were incurred. See Blankenship
15                 v. Liberty Life Assurance Co. of Boston, 486 F.3d 620, 627 (9th Cir.
16                 2007) (“A district court may award prejudgment interest on an award of
17                 ERISA benefits at its discretion.”); Drennan v. General Motors Corp.,
18                 977 F.2d 246, 253 (6th Cir. 1992). Specifically, Plaintiff seeks interest
19                 at the rate of 10% per annum, pursuant to California Insurance Code
20                 section 10111.2; and
21            4.   For such other and further relief as this Court deems just and proper.
22
23     Dated: March 8, 2017                      MCKENNON LAW GROUP PC
24
25                                              By:
                                                      ROBERT J. McKENNON
26                                                    SCOTT E. CALVERT
                                                      Attorneys for Plaintiff Brian Wright
27
28


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